                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF KANSAS AT WICHITA

  IN RE:                                             )
                                                     )
  PIXIUS COMMUNICATIONS, LLC,                        )
                                                     )   In Proceedings Under Chapter 11
           Debtor.
                                                     )
                                                     )
  WISPer VENTURES LEASING, LLC,                      )   Bankr Case No. 19-BK-11749
                                                     )
           Plaintiff,                                )
                                                     )
  v.                                                 )
                                                     )   Adversary No.: 19-AP-05110
  ROBERT G. HANSON, et al.,                          )
                                                     )
           Defendants.                               )
                                                     )


                PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT
                  JAY S. MAXWELL’S PRAYER FOR ATTORNEYS’ FEES

        COMES NOW Plaintiff WISPer Ventures Leasing, LLC (“Plaintiff”) by and through its

attorneys Sandberg Phoenix & von Gontard P.C., pursuant to Arizona Revised Statutes §§12-341

et seq. and §12-349, and in accordance with this Court’s Order dated November 17, 2020

[Doc.114] and the parties’ joint stipulated motion for extension of time dated December 16, 2020

[Doc. 124], and for its Response in Opposition to Defendant Jay S. Maxwell’s (“Maxwell” or

“Defendant”) prayer for attorneys’ fees, state as follows:

                        FACTUAL AND PROCEDURAL BACKGROUND

        Plaintiff initiated the lawsuit that became this adversary proceeding on August 7, 2019 by

filing suit in the Superior Court of the State of Arizona in and for the County of Maricopa. The

initial lawsuit contained breach of contract claims against the Debtor Pixius Communications,

LLC (“Pixius”) as well as breach of contract claims against various individual defendants,


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including Maxwell, named as a defendant in his individual capacity and as trustee of the Jay S.

Maxwell Trust (“Maxwell Trust”) for breach of a subordination agreement between Pixius and

the Maxwell Trust. On November 18, 2020, this Court granted Maxwell’s motion to dismiss in

his individual capacity, on the basis that he was not party to any subordination agreement in that

capacity, while his trust, which he caused to execute the agreement, remained a proper

defendant.

        Plaintiff informed the Court at the hearing on Maxwell’s motion to dismiss that based on

evidence adduced in discovery, Plaintiff intended to amend its Complaint to include tort claims

against Maxwell, based on his tortious interference with the subordination agreement on behalf

of the Maxwell Trust. Contemporaneously with this response, Plaintiff has submitted a motion

for leave to amend on that basis, including claims against Maxwell in his individual capacity for

tortious interference, unjust enrichment, and negligent misrepresentation.

                                          ARGUMENT

        Maxwell’s prayer for fees is based on two Arizona statutes. The first, §12-341 provides a

discretionary award for the “successful party” in a contested contract action. The second, on

§12-349 is a sanctions provision for unjustified actions or abusive litigation conduct. Fees are

inappropriate under both provisions.

        I.     Maxwell’s prayer for fees under §12-341 is not ripe, because the Court
               cannot determine which party will ultimately be “successful.”

        §12-341 provides in relevant part that “[i]n any contested action arising out of a contract,

express or implied, the court may award the successful party reasonable attorney fees.”

(emphasis added). An award of fees pursuant to this statute is discretionary; it is not an

entitlement. Ader v. Estate of Felger 375 P.3d 97, 110 (Az. App. Div. 2 2016). In assessing

whether to award fees to a successful party under the statute, the Court must assess the following


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factors: (1) whether the unsuccessful party's claim or defense was meritorious; (2) whether the

litigation could have been avoided or settled and the successful party's efforts were completely

superfluous in achieving the result; (3) whether assessing fees against the unsuccessful party

would cause an extreme hardship; (4) whether the successful party prevailed with respect to all

of the relief sought; (5) whether the legal question presented was novel and whether such claim

or defense have previously been adjudicated in this jurisdiction; and (6) whether the award

would discourage other parties with tenable claims or defenses from litigating or defending

legitimate contract issues for fear of incurring liability for substantial amounts of attorney's

fees. Wagenseller v. Scottsdale Memorial Hosp., 710 P.2d 370, 394 (Ariz. 1985).

        However, even prior to conducting the Wagenseller factor analysis, the Court must

determine whether a litigant is a “successful party” within the meaning of the statute. Because

there are additional claims against Maxwell and his trust in Plaintiff’s Amended Complaint, the

Court cannot make that determination at this time. Where a case involves multiple claims, some

of which are successful and some are not, the evaluating court must examine the result of each

claim in assessing whether to award fees; it may then apply a percentage of success or a totality

of the litigation test. Medical Protective Co. v. Pang, 25 F.Supp.3d 1232, 1239 (D. Ariz. 2014).

Plaintiff has now asserted multiple tort claims against Maxwell. This Court cannot apply either

the percentage of success or a totality of the litigation test absent an adjudication of those claims.

Maxwell’s prayer for fees is therefore premature and should be denied as not ripe for

adjudication.

        Furthermore, a defendant is not a “successful party” within the meaning of the statute

where he obtains only a partial victory as to one or more claims against him, but does not reduce

his overall potential liability. ARA Incorporated v. City of Glendale, 360 F.Supp.3d 957, 971



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(D. Ariz. 2019). The District of Arizona’s decision in the City of Glendale case demonstrates

why this matter is not ripe. There, the plaintiff asserted numerous claims against the City,

including breach of contract, account stated, and two statutory claims. Id. at 963. The City filed

a motion for summary judgment, which the District Court denied as to the breach of contract and

statutory claims, but granted as to the account stated claim. Id. at 966, 969. The Court denied

the City’s prayer for fees under § 12-341, because the damages for all counts alleged were the

same alleged damages, and “[t]he City prevailed on only one out of four claims and that partial

victory didn't reduce the potential liability it still faces.” Id. at 971.

        Because the Amended Complaint asserts additional claims against Maxwell, the same

result may occur here. As alleged, Debtor Pixius defaulted on its obligations under a Master

Lease Agreement with Plaintiff.          The Maxwell Trust, along with the other subordinated

defendants, executed subordination agreements related to the indebtedness under the Master

Lease Agreement, in which the subordinated defendants agreed not to accept any payments until

the indebtedness under the Master Lease Agreement was paid in full. Plaintiff has been damaged

to the extent Pixius defaulted on the indebtedness under the Master Lease Agreement while

making payments its owners in violation of the subordination agreements. The damages alleged

for the breach of contract counts are the same damages alleged against Maxwell in the tort

counts. Therefore, in light of the tort claims alleged against Maxwell in Plaintiff’s Amended

Complaint for the same damages that were alleged against him in the breach of contract count,

this Court cannot determine whether Maxwell has affected or reduced his potential liability.

Maxwell’s prayer for attorneys’ fees is not ripe and should therefore be denied.




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        II.    Maxwell’s prayer for fees under §12-349 should be denied because the claims
               against Maxwell in the original Complaint were not groundless or made in
               bad faith.

        Maxwell second bases his prayer for fees on §12-349. This provision provides attorneys’

fees may be awarded as a sanction for unjustified actions “at the court’s discretion” where a

party (1) brings a claim without substantial justification; (2) brings a claim primarily for delay or

harassment; (3) unreasonably expands or delays a proceeding; or (4) engages in abuse of

discovery. §12-349(A). Maxwell claims the claims against him in the original Complaint were

not justified, therefore falling under subsection (A)(1).

        Importantly, in order to demonstrate a claim is made “without substantial justification,”

under subsection (F), Maxwell must show the claim “is groundless and is not made in good

faith.” (emphasis added).      Maxwell must prove both elements by a preponderance of the

evidence. City of Casa Grande v. Arizona Water Co., 20 P.3d 590, 598 (Ariz. Ct. App. 2001)

(addressing prior version of statute). Maxwell cannot make either required showing.

        As an initial matter, Maxwell has not asserted, alleged, or provided any evidence the

claims against him in the original Complaint were made in bad faith. This deficiency alone

defeats his prayer for fees under this section. Id.

        Furthermore, Plaintiff’s claims against Maxwell in the original Complaint were not

groundless. As set forth in greater detail in Plaintiff’s response in opposition to Maxwell’s

motion to dismiss [Doc. 71], Arizona law specifically provides that a trustee is subject to

personal liability “for obligations arising from ownership or control of Trust property, including

liability for violation of environmental law, only if the trustee is personally at fault.” A.R.S. §

14-11010(B). The Court of Appeals for the Ninth Circuit, applying Arizona law, nonetheless

suggested it means the trustee must have “intentionally or negligently acted or failed to act in a



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manner that established a personal fault.” Biltmore Assocs., LLC v. Twin City Fire Ins. Co., 572

F.3d 663, 676 (9th Cir. 2009) (citing Haskett v. Villas at Desert Falls, Inc., 90 Cal.App.4th 864,

108 Cal. Rptr. 2d 888 (2001)). Other courts construing similar statutory language have held the

trustee’s personal liability may be implicated upon evidence the trustee “personally committed,

inspired, or participated in the alleged torts.” Hector v. Bank of New York Mellon, 244 Md. App.

322, 341, 223 A.3d 1061, 1071, cert. granted, 468 Md. 544, 228 A.3d 163 (2020).

        While this Court ultimately dismissed those claims as to Maxwell, that does not mean the

claims were groundless under Arizona law. The mere fact that a party is ultimately unable to

sustain its claim does not equate to a determination that the claim itself was frivolous,

unjustified, or put forth for an improper purpose. Compassionate Care Dispensary, Inc. v.

Arizona Department of Health Services 418 P.3d 978, 989 (Ariz. App. Div.1 2018).

                                        CONCLUSION

         As stated, Maxwell’s prayer for fees under §12-341 is not ripe, because the Court cannot

determine which party will ultimately be “successful.” Maxwell’s prayer for fees under §12-349

must be denied because the claims against Maxwell in the original Complaint were not

groundless or made in bad faith. Based on the foregoing, Maxwell’s prayer for fees in relation to

his motion to dismiss should be DENIED.




                                     SANDBERG PHOENIX & von GONTARD P.C.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 31, 2020, a true and correct copy of the foregoing

objection was electronically filed with the Clerk of the Court by using the CM/ECF system,

which sent notification to all parties of interest participating in the CM/ECF system.



                                              /s/ Lyndon Sommer




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